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                                                                                 ctE- sOFFICE U.S.DIST.GOURT
                                                                                       ATRQANOKE,VA
                                                                                            FILED

                                                                                       ALC 2# 2917
                           IN THE UNITED STATES DISTM CT COURT
                          FOR THE W ESTEM DISTRICT OF VIRGINIA                     JUL .DUD , CLERK
                                                                                  BY; '    -
                                    ROANOKE DIVISION                                      thv       R
    UN ITED STATES OF AM EIUCA                      CriminalActionN o.7:12CR00043
                                                    (CivilActionNo.7:17CV81229)
                                                    M EM OR ANDUM OPINION
    DAVID ANTHONY TAYLOR,
                                                    By:Hon.Glen E.Conrad
           D efendant.                              United StatesDistrictJudge


           David Am hony Taylor,a federalinmateproceeding pro K ,previously m oved to vacate,

    setaside,orcorrectllissentenceunder28 U.S.C.j 2255.By memorandllm opinion and order
    entered July 17,2017,the courtgranted the government's m otion to dismiss.Taylor has now

    filedamotionforreconsiderationtmderRule59(e)oftheFederalRulesofCivilProcedtlreanda
    motion to am end hism otion forreconsideration.Forthefollowing reasons,them otion to nmend

    willbegranted and the am ended m otion forreconsideration willbedenied.

                                           Backzround

           On February 13,2017,Taylorûled a j2255 petition,challenging his conviction for
    possession of a firenrm in relation to a crime ofviolence tmder 18 U.S.C.j924(c).Taylor
    argued thatconspiracy to comm itHobbs Actrobbery is not a predicate crim e of violence to

    sustain such a conviction.

           ln granting the government'smotion to dismiss,thecourtnotedthatTaylor'sjudgment
    contained a!l error (the Ivudgmenf).It mistakenly reflected that Taylor was convicted of
    conspiracy to commit Hobbs Act robbery.Upon review of the record, including the jury
'
    instructions,theverdictsheet,statementsm ade by cotmselduring trial,and statem entsmade by

    the courtatsentencing,the courtconcluded thatTaylorwasinstead convicted ofthe substantive
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offense of Hobbs Actrobbery.See United States v.Taylor,7:17CV 81229,2017 U .S.Dist.

LEXIS 110132,at*8-10 (W .D.Va.July 17,2017).Assuch,the courtdirected the Clerk to
nm end the Judgm ent to reflect the correct conviction pursuant to Federal Rule of Crim inal

Procedure36.J-pz.at*10.Taylornow asks,pursuanttoRule59(e)oftheFederalRulesofCivil
Procedure,thatthe courtalter or nmend its finalorder granting the governm ent's m otion to

dism iss. Taylor further asks that the court grant him leave to am end his motion for

reconsideration andhassubm itted an nmended motion.1

                                         Standard ofR eview

        Rule59(e)providesthatacourtmay,in itsdiscretion,alteroramend ajudgment. See
Fed.R.Civ.P.59(e);Robinson v.W ix Filtration Com .,599 F.3d 403,433 (4th Cir.2010)
(notingthatmotionstoalteroramrnd finaljudgmentstmderRule 59(e)arediscretionary).The
United StatesCourtofAppealsfortheFourth Circuithasrecognized threegrotmdsfornm ending

ajudgmentunderthisrule:çt(1)toaccommodateaninterveningchangein controllinglaw;(2)to
accountfornew evidencenotavailableattrial;or(3)to correctaclearerroroflaw orprevent
manifestinjustice.''Pac.Ins.Co.v.Am.Nat'lFireIns.Co.,148F.3d 396,403(4th Cir.1998).
Rule 59(e) motions ççare not atthe disposalof an unsuccessfulparty to çrehash'the snme
argumentsand factspreviously presented.''Rousev.Nielsen,851 F.Supp.717,734 (D.S.C.
1994)(quoting Keyesv.Nat'lR.R.PassenzerCorp.,766 F.Supp.277,280 (E.D.Pa.1991)).
Reconsideration ççis an extraordinary rem edy that should be applied sparingly.''M ayseld v.

NASCAK Inc.,674F.3d 369,378(4thCir.2012).
1       ThecourtwillgrantTaylor'sm otionto am end hism otion forreconsideration, and construestheamended
motion assupplementalbriefingto hisoriginalmotion forreconsideration.
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                                        D iscussion

       In theoriginalm otion forreconsideration,Taylorasksthecourtto nmend oralteritsfinal

ordergrantingthegovemment'smotiontodismissforthreereaspns:(1)becauseTaylorreliedon
theerrorin theJudgment,(2)becausethe courtshouldhavealerted Taylorabouttheerrorprior
to dismissing his j2255 petition,and (3) because the courtshould retroactively apply the
holding ofDean v.United States,137 S.Ct.1170 (2017)%to Taylor'scase.In his amended
motion for reconsideration, Taylor argues that the court should vacate its order dismissing

Taylor'sj2255 petition and stay furtherproceedingspending a decision by the United States
CourtofAppealsfortheFourth Circuitin United Statesv.Ali,AppealNo.15-322.United States

v.A1iis currently being held in abeyance pending the Supreme Court's decision in Dimaya v.

Sessions,803F.3d 110(9th Cir.2015),cert.cranted,137 S.Ct.31.Tayloralso asksthecourtto
alteroramend itsorderdismissing Taylor's j2255 petition in lightofthe recentdecision in
United Statesv.Havnes,2017U.S.Dist.LEXIS21844(C.D.111.Feb.6,2017),which addressed
whetherHobbsActrobbery can beaccomplished withouttheuse ofphysicalforce.

       As to Taylor's firstargument,the courtisnotpersuaded thatitshould nmend its order

dismissingTaylor'sj2255petitionbecauseTaylorreliedupontheenorintheJudgment.Taylor
aversthatherelied blindly on the assistance ofcotmsel,and thathe did notfully understand his

charges untilhe anived atthe Btlreau ofPrisons.He claim sthat,once incarcerated,he learned

thathisconvictions were listed in the Judgm ent.Atthattim e,the Judgm enterroneously stated

thatTaylorw asconvicted ofconspiracy to comm itHobbsActrobbery.
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       The record,however,isrifewith instancesin which Taylorwasm ade aware thathe was

being convicted ofthe acttzalrobberies- notconspiracy to rob.During the opening statem entsat

thefrstofhistwo trials2atw hich Taylorwaspresent, counselforthe governp entstated,tGFolks,

M r.Taylor is charged with two counts of robbery under the Hobbs Act.''TrialTr.24:9-10,

October 22,2012,Docket No.69.The government m ade a sim ilar argtlm ent in its opening

statementsin the second trial.See TrailTr.21:15-17,Jan.23,2013,DocketNo.159 (ççW e're
heretoday becausethe gentlem an seated there atcounseltable,in the brown suitis charged with

two cotmtsofrobbery ....'').Inthesecond trial,dlzring awitness'testimony,Taylor'scotmsel
objectedtoacertain lineofquestions,stating,çtMy clientischrgedwithtwo distinctinstances,
notaconsniracv....Thegovernm entcould havecharged him with conspiracy and did not.Heis

notcharged with conspiracy.''Id.at97:16-98:14 (emphasisadded).Atclosing,thegovernment
furtherdescribed Taylor'sbehaviorasarobbery.See TrialTr.557:18-21,Jan.25,2013,Docket

No.161(%çSo you'llhaveto ask yourself,when he committed theserobberies....'').Taylor's
ownattorney statedtothejurythatthetsrearm countswereçtbased on thetobbery.''J.I.
                                                                               L at580:1-
2(emphasisadded).Atsentencing,thecourtrecountedthatTaylorwasconvicted onthreecounts
by ajury,includingçtcountOne,interferencewith commercebythreatsorviolence,HobbsAct
robbery.''Sent.Tr.3:10-11,April23,2014,DocketNo.162;seealsoid.72:23-25(admonishing
thedefendantforbeingçtverydeeplyinvolved''intherobberies).
       Additionally,Taylor's own pro K subm issions to this courtindicate an tm derstanding
                                       .




thathewasconvicted ofHobbsActrobbery.Aftersentencing,Taylorappealed hisconvictions.


2      Thefirsttrialresultedinahungjury.SeeDocketNos.54 55.

                                               4
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Both the Fourth Circuitand the Suprem e Courtofthe United Statesidentifed Taylor as being

convicted ofHobbs Actrobbery.See Taylorv.United States,136 S.Ct.2074,2078 (2016)
(çTaylorwasconvictedoftwocountsofHobbsActrobbery'');UnitedStatesv.Taylor,754 F.3d
217,220 (4th Cir.2014) (<Taylor appeals his convictions for two cotmts of Hobbs Act
robbery.'').Afterdisposition ofhisappeal,Taylorsubmittedapetition forrelief,whichthecourt
construed asaconditionalj2255petition.SeeOrder,July 17,2014,DocketNo.167.3x otably,
in thissubm ission,Taylormentionshis indictmentand conviction ofHobbsActrobbery.Id.at

2-4.Notoncedoestheword çsconspiracy''appear,despitethefactthattheerroneousjudgment
wasentered severalmonthspriorto Taylor'sinitialj2255 submission.Finally,Taylor'smost
recentm otion to nmend hism otion forreconsideration addressesonly Hobbs Actrobbery- not

conspiracy to com m itHobbsActrobbery.DocketN o.228.

       Tayloralso had the occasion to arguethatHobbsActrobbery isnotapredicate crim e of

violence.In supportofits motion to dism iss,thegovernmentasserted thatGç-l-aylorwasindicted

    and charged w ith two counts of Hobbs Act robbery.''Br.in Supp.ofh4ot.to Ilisnliss 1,

DocketNo.215.The governmentdid notaddressany argumentrelated to conspiracy to com mit

Hobbs Act robbery. In responding to the governm ent's m otion to dism iss,Taylor had the

opportunity to counterthe governm ent'sargum entsand wasagain puton notice ofthe nature of

hisconvictions.

       Therefore,given these statem ents m ade in open court,Taylor's own assertions in his

filings with this court, and the government's arguments in its m otion to dism iss,the court

3      Taylor did notrespond to the conditional filing order entered, and the courtdenied the petition and
dismissedhisinitialj2255actionwithoutprejudice.SeeMem.Op.,DocketNo.168.
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concludesthatthe reliefTaylorseeksisnotwarranted.See Fed.R.Civ.P.59(e).Therecord
cleady reflectsthe numerousinstancesin which Taylor's chargeswere described asHobbsAct

robbery,and Taylor'sown submissionsindicatehistmderstanding ofthese convictions.A ssuch,

the courtfindsno manifestinjustice in failing to amend itsorderdismissing Taylor's j2255
petition.

       Similarly,the courtwillnotnmend oralteritsjudgmentsimply becauseitdid notwat'
                                                                                   n
Tayloraboutthiserrorinjudgmentpriorto granting the government'smotion to dismiss.As
discussed, Taylor's own subm issions to the court indicate his understanding that he was

convicted ofHobbsActrobbery.See Br.in Supp.ofM ot.forPost-conviction Relief2,Docket

No.166(çtpetitionerwasnamedin a4 Cotmtsupersedingindictmentthatchargedhim withtwo
cotmtsofrobbery in violation ofthe HobbsAct.'').To the extentTaylorarguesthathewould
have raised differentissues had he notrelied on the error in the Judgment,Taylor could have

raised otherargumentsin this j2255 petition,including the ineffective assistance ofcounsel
assertion he made in the submission the courtconstrued asa conditionalj2255.Nothing in
j2255limitsapetitioner'srighttorequestreliefon thebasisofone issue.Therefore,thecourt
tsnds thatutilizing the dçextraordinary rem edy''of reconsideration is not appropriate when the

litigantsimply failed toincludeevery argnmenthehad.SeeM ayfield,674 F.3d at378.

       Next,Taylorcontendsthatthe courtshould haveapplied the reasoning in Dean v.United

States,137 S.Ct.1170 (2017),to hiscase.In Dean,which wasdecided afterTaylorsubmitted
his j2255 petition,the Supreme Courtofthe United Statesheld thata districtcourtis not
prohibited from considering the im pact of the m andatory m inim lzm sentence required tm der 18
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U.S.C.j924/)indeterminingtheappropriatesentenceforthepredicateoffense.Seej.
                                                                          laat1176
CW othingin j924(c)restrictstheauthorityconferredon sentencing courtsbyj3553(a)and the
related provisions to consider a sentence imposed under j9244c) when calculating a just
sentenceforthepredicatecount.''l.Thisargumentappeazsto bea ûGfree-standing allegation of
constitutionalerrorin theunderlying criminaljudgment.''United Statesv.W inestock,340F.3d
200,207(4th Cir.2003).Assuch,thecourtconstruesthisportion ofTaylor'sRule59(e)motion
asasecond habeaspetision.Seej.
                             l.
                              aat203 (notingthelong-standingpracticeofGGclassifyingpro
K pleadingsf'
.           rom prisonersaccordingtotheircontents,withoutregardtotheircaptions').
       Section 2255barssuccessive applicationsunlessthey contain claim srelying on

       (1)newly discovered evideqce that,ifproven and viewed in the lightof the
          evidence asa whole,would be sufficientto establish by clearand convincing
          evidence thatno reasonable factfinderwould have fotmd them ovantguilty of
          theoffense;or
       (2)anew nzleofconstitutionallaw,maderetroactivetocasesoncollateralreview
          by the Supreme Court,thatwaspreviously tmavailable.

28U.S.C.j2255(1$.ç1(A)prisonerseeking to file asuccessiveapplication in the districtcourt
mustsrstobtain authorization f'
                              rom the appropriate courtof appeals.''W inestock,340 F.3d at

205.Taylor has not demonstrated thathe has received this certifcation.Therefore,the court

lacksjurisdictionto considerthisargument.SeeW inestock,340 F.3dat205(%ç1n theabsenceof
pre-filingauthorization,thedistrictcotlrtlacksjudsdiction to consideran application containing
abusiveorrepetitiveclaims.').
       Even ifthere w ere no such certiûcation requirem ent,D ean does notapply retroactively to

j2255proceedingsunderthecriteriasetforth in Teaguev.Lane,489 U.S.288,311-26(1989).
SeeUrlited Statesv.Adams,7:06C1c 2,2017 U.S.Dist.LEXIS 101682,at*3 (W .D.Va.July
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29,2017)(Urbanski,J.);see also United Statesv.M iller,1:07CR44,2017 U.S.Dist.LEXIS
107460,at *3 (W .D.Va.July 12,2017)(Jones,J.)CçgDefendantj has notshown thatDean
recognizes a new rightand thatitappliesretroactively to caseson collateralreview.''l;ln re
Dockery,---F.3d ---,2017 U.S.App.LEXIS 13233,at*2 (5th Cir.July 20,2017)(denying
certiscation because the defendanthad notm ade a prim a facie showing thatDean nnnotmced a

new l'uleofconstimtional1aw thatwasmaderetroactiveto caseson collateralreview).Taylor's
convictions becnme final prior to the Supreme Court's decision in Dean v.United States.

Therefore,Dean isinapplicabletoTaylor'sj2255proceedings.
       Nor will the courtgrant mlief because of the reasoning in Haynes.Again, such atl

arglzmentissuccessiveandrequirescertification f'
                                               rom theFourth Circuit.SeeWinestock,34é
F.3d at205.Furtherm ore,Havnes is nothelpfulto Taylor.ln Haynes,the Courtdiscussed the

possibility ofa HobbsActrobbery being comm itted withoutthe useofphysicalforce.2017 U.S.

Dist.LEXIS 21844,at *17-21.Nevertheless,the Courtconcluded thatthe defendant's çGthree

convictionsunder18U.S.C.j924(c)(3)baseddirectlyuponHobbsActrobberyasthepredicate
'crim e of violence' ...remain valid''given thé Seventh Circuit's holding in United States v.

Anglin,846 F.3d 954,965 (7th Cir.2017)t'
                                       holdingthatHobbsActrobberyqualifiesasacrime
ofviolenceunderj924(c)(3)).Therefore,HaynesdoesnotprovidesupportforTaylor'sposition.
       Finally,Taylorasksthecotu'ttovacateitsorderdismissing Taylor'sj2255 andstayany
furtherproceedingsuntilthe Fourth Circuitsdecides United Statesv.Ali.çç-l'
                                                                         he party seelcing a

stay mustjustify itby clearand convincing circumstances outweighing potentialharm to the
party against whom it is opbrative.''W illiford v.A rm stron: W orld Indus.-lnc.,715 F.2d 124,
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127 (4th Cir.1983).Sçgl-llabeasproceedings implicate specialconsiderationsthatplace tmique
limitson adistrictcourt'sauthorityto stayacaseintheinterestsofjudicialeconomy.''Yona v.
I.N.S.,208 F.3d 1116,120-21(9th Cir.2000).Moreover,thepartyseeking astay isrequiredto
Sçm ake outa clearcase ofhardship orinequity in being required to go forward ifthere iseven a

fairpossibility thatthe stay for which he prays willwork dnm age to someone else.''Landisv.

North AmericanCo.,299U.S.248,254 (1936).
       ln the instant case,the court is not persuaded that Taylor has presented ssclear and

convincing circumstances''justifying a stay.Taylorhasnotpresented any argumentthatthe
pending appellate case will be decided in his favor.Instead,a growing ççchorus''of federal

district courts and appellate courts have held thatHobbs Act robbery is a predicate crim e of

violenceunderthe force clause ofj924(c).Seee.g.,United Statesv.Clarke,171F.Supp.3d
449,452-57(D.M d.2016)(GçlrflhisCourtjoinsintherisingchonlsanddeclaresthatHobbsAct
robbery is a crime ofviolence within the meaning ofthe Force C1ause.'')'
                                                                       ,Brown v.United
States,163F.Supp.3d315,316(E.D.Va.2016)(lThiscourthasconsistentlyfoundthatHobbs
Actrobbery isatcrimeofviolence'tmdertheforceclause.'')(collecting casesfrom theEastem
District);see also Diaz v.United States,---F.3d --,2017 U.S.App.LEXIS 12279 (8th Cir.
2017);United Statesv.Anglin,846F.3d954(7th Cir.2017);United Statesv.Hill832F.3d 135,
(2d Cir.2016).The courtwillnotalter its holding that Taylor's conviction for Hobbs Act
robberysatisfedtheforceclauseofj924(c).
       Furthermore,the Fourth Circuitisholdingitsdecision in United Statesv.A1iin abeyance

untilthe Suprem e Courtrenders in a decision in Dim aya v. Sessions.ln that case,the narrow
                           .
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 issue is whether the Supreme Court's decision in Jolmson v.United States, 135 S.Ct.2551

 (2015)appliestotheresidualclause,nottheforceclause,oftheçtcrimeofviolence''defnitionof
 18 U.S.C.j16(b).Section j16(b) has virtually identicallanguage to the residualclause of
 j924(c)(3).As discussed in its memorandum opinion granting the government's motion to
 dism iss, Taylor's conviction qualifes as a crime of violence under the force clause of

 j924(c)(3).Taylor,2017U.S.Dist,LEXIS 110132,at*13.The courtneverreachedthemerits
 of Taylor's residualclause claim .Therefore, even if the Suprem e Courtextends the rule in

 Johnson to 18 U.S.C.jj 16(b)and 924(c)(3)(B),such extension would have no bearing on
 Taylor's conviction. Additionally, while the Supreme Court's decision in Dim aya was

 anticipated to be issued in Jtme 2017,resolution ofthatcasehasbeen delayed tmtilJune 2018.

 See United States v.Gaspar-snm ano,No.10CR3510,2017 U.S.Dist.LEXIS 116324,at *7-8

 (S.D.Cal.July24,2017)(lihingastaybecauseofthedelayinDimayaand denying defendant's
 j2255petition).Accordingly,thecourtwilldeny Taylor'samendedmotionforreconsideration,
 includingtheincorporatedrequestforastayofhisj2255proceedings.
                                        C onclusion

       Forthereasons stated,Taylor's amended m otion forreconsideration willbe denied.The

 Clerk is directed to send copies ofthis m emorandllm opinion and the accom panying order to

 Taylorand al1counselofrecord.

       ENTER :This         day ofAugust,2017.


                                                           nited StatesDistrictJudge
